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                                                                                 Time set: 9:00 AM
                                                                                Start time: 9:10 AM
                                                                                 End time: 9:44 AM

                         IN THE UNITED STATES COURT
                       FOR THE DISTRICT OF PUERTO RICO

MINUTE OF PROCEEDINGS:

SILVIA L. CARRENO‐COLL, U.S. DISTRICT JUDGE
   COURTROOM DEPUTY: Reina Alvarez Miranda               Date: February 28, 2022
   COURT REPORTER: Evilys Carrion                        Criminal Case: 19‐121 (SCC)
====================================================================

                                           Attorneys

  United States of America                 AUSA Joseph L. Russell
               v.
  (1) Emmanuel Pacheco‐Marin               Francisco Rebollo‐Casalduc
  (2) Vladimir Natera‐Abreu                Jennie M. Espada‐Ocasio
  (4) Jesus J. Rivera‐Figueroa             Francisco J. Adams‐Quesada (for Giovanni Jose Canino)

  (5) Jose L. Garcia‐Lopez                 Linda George
  (7) Elvin O. Cruz‐Verges                 Kehylis Y. Vazquez‐Torres
  (9) Segismar Rodriguez‐Rivera            Miguel Oppenheimer (for Raul S. Mariani‐Franco)
  (10) Luis Serrano‐Nieves                 Juan P. Rivera‐Roman
  (11) Christian O. Dalmau‐Garcia          Rafael F. Castro‐Lang
  (12) Fabian Viloria‐Sepulveda            Miguel Oppenheimer (for Jose L. Novas‐Debien)
  (13) Anthony Vazquez‐Arroyo              Diego H. Alcala‐Laboy
  (14) Luis R. Espinal‐Rivera              Francisco J. Adams‐Quesada
  (15) Ignacio Gual‐Calderon               Peter Diaz‐Santiago
  (16) Jonathan Rivera‐Carrasquillo        Rachel Brill
  (19) Joset J. Rivera‐Verdejo             Jennie M. Espada‐Ocasio (for Alejandro Sanfeliu‐Vera)
  (20) Jason Arroyo‐Perez                  Miguel A. Rodriguez‐Robles (not present)
  (22) Nefty L. Oquendo‐Rosario            Jason Gonzalez (for Ignacio Fernandez‐De‐Lahongrais)
  (26) Jonathan O. Arce‐Carrillo           Rafael F. Castro‐Lang
  (27) Gustavo J. Germes‐Estrella          Victor A. Ramos‐Rodriguez
  (28) Dionicio Odali De La Rosa‐Richiez   Lydia Lizarribar‐Masini
  (29) Anthony Gonzalez‐Miranda            Robert Millan
  (30) Carlos R. Nieves                    Ruben Cerezo‐Hernanzdez (not present)
  (33) Adams E. Aquino‐Rosario             Marta T. Rey‐Cacho
  (34) Alexis Fermaint‐Caraballo           Johnny Rivera‐Gonzalez (for Jose B. Velez‐Goveo)
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                                                                            Time set: 9:00 AM
                                                                           Start time: 9:10 AM
                                                                            End time: 9:44 AM
  (35) Christian J. Sierra‐Perez           Johnny Rivera‐Gonzalez
  (36) Victor Rivera‐Galindez              Eduardo Ferrer‐Rios
  (38) Edgardo A. Benitez‐Guivas           Thomas Trebilcock‐Horan
  (40) Geovanny Morales‐Rodriguez          Luis A. Rodriguez‐Munoz
  (43) Mario O. De Jesus‐Ocasio            Mario A. Carrillo‐Cotto
  (53) Edwin Rosa‐Colon                    Mariangela Tirado‐Vales
  (54) Luis O. Caban‐Rodriguez             Miguel Oppenheimer
  (56) Leslie R. Dominguez‐Miranda         Juan F. Matos‐De‐Juan
  (60) Joel C. Nieves‐Torres               Jason Gonzalez‐Delgado
  (64) Jose M. Santiago‐Montanez           Carlos M. Sanchez‐La‐Costa
  (65) Jose J. Piris‐Hernandez             Thomas R. Lincoln‐San‐Juan
  (67) Luis A. Rosa‐Diaz                   Anita Hill‐Adames
  (68) Michael G. Marrero‐Castro           Rosa Ivette Bonini‐Laracuente
  (71) Pedro J. Massas‐Rivera              Jose Agustin Arce‐Diaz
  (72) Reynaldo M. Diaz‐Verges             Joseph G. Feldstein‐Del Valle
  (74) Carlos Gabriel Rodriguez‐Melendez   Ernesto Hernandez‐Milan




                   CASE CALLED FOR A STATUS CONFERENCE


      Defense counsel, listed above, were present by Video Tele‐Conference (VTC).

The parties had no objections as to conducting the hearing by VTC to protect

everyoneʹs health in view of the pandemic.

      Status of the case was discussed. The government stated that all discovery has

been provided and that three defendants remain fugitives.

      Atty. Castro‐Lang, Atty. Millan and Atty. Diaz Santiago informed that

additional discovery will be requested to the government. The Court noted the

statements the government shall produce the discovery requested within 20 days.

Any pending discovery matter shall be informed to the government by e‐mail.

      Atty. Castro‐Lang informed that he is representing Defendants #11 and #26 and
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                                                                                Time set: 9:00 AM
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that he will be filing a motion requesting a foster hearing to be held in person.

       Atty. Espada‐Ocasio informed that her client is still out of the jurisdiction and

stated that she requested an evidence inspection to AUSA Lopez‐Rocafort but it has

not been scheduled. The Court noted the stament, within 20 days defense counsel

shall send an e‐mail to the prosecutor to follow up and set a date.

       The parties were granted 45 days to file any dispositive motions and 60 days

to engage in plea conversations. Dispositive motions due by 4/14/2022. Change of Plea

motion due by 4/30/2022.

       As to the first 8 defendants who will exercise their right to go to trial: Pretrial

Conference is set for 6/23/2022 at 4:00 PM in Courtroom 6 before Judge Silvia L.

Carreno‐Coll. Jury Trial is set for 7/26/2022 at 9:00 AM through 8/5/2022 at 9:00 AM

in Courtroom 6 before Judge Silvia L. Carreno‐Coll. Proposed voir dire, proposed jury

instructions, motions in limine, Jencks and Giglio are due 7 days before the trial date.

       STA tolled in the interest of justice. The Court finds that the defendants’ need

to review discovery and engage in plea negotiations outweighs the defendants’ and

the communityʹs interest in a speedy trial.

              In San Juan, Puerto Rico, this 28th day of February, 2022.

                                                   s/ Reina Alvarez Miranda
                                                    COURTROOM DEPUTY
